Case 1:13-cr-10007-SOH Document 179              Filed 08/11/14 Page 1 of 2 PageID #: 792




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  EL DORADO DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       CRIMINAL NO. 1:13CR10007-005
                                             )
CURTIS J. COLE                               )



                              FINAL ORDER OF FORFEITURE

        On June 3, 2014, the Court entered a Preliminary Order of Forfeiture in this case in

accordance with Fed.R.Crim. P. 32.2(b). (Doc. 161). In the Preliminary Order of Forfeiture,

$90,700.00 in U.S. Currency seized in a traffic stop in Wichita Falls, Texas was forfeited to the

United States pursuant to 21 U.S.C. § 853.

       The United States was required to publish notice of this order pursuant to Fed.R.Crim. P.

32.2(b)(6) and 18 U.S.C. § 982(b)(l), incorporating by reference 21 U.S.C. § 853(n)(1). On July

7, 2014, an attorney for the United States filed a Notice of Proof of Publication, showing that for

30 days, notice of the Court' s Preliminary Order of Forfeiture was advertised on

www.forfeiture.gov. Deadline for filing claims was August 5, 2014. No third party claims have

been filed.

        Pursuant to Fed. R. Crim. P. 32.2(b)(4), a Preliminary Order of Forfeiture becomes final

as to a defendant at sentencing.

        Accordingly it is hereby ORDERED, DECREED, AND ADJUDGED:

        1. That based upon the guilty plea and the plea agreement of the parties, pursuant to Fed.

R. Crim. P. 32.2(b)(4), the Preliminary Order of Forfeiture entered on June 3, 2014, shall



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Case 1:13-cr-10007-SOH Document 179         Filed 08/11/14 Page 2 of 2 PageID #: 793




become final at this time.
                             -   ~
       IT IS SO ORDERED th1s jl__ day of August, 2014.



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                                 HONORABLE SUSAN 0. HICKEY
                                 UNITED STATES DISTRICT JUDGE




                                                         WE~lEJlkSJ;RICT COURT
                                                                     F~AAKANSAS
                                                             AUG 11 2014
                                                         C~s R. JOHJ;~SON, Clerk
                                                                 Deputy Clerk




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